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                                   UNITED STATES DISTRICT C O URT

                                         DISTRICT O F N EVA DA

 U SA


                      Plaintiftl
                                                                  DistrictN o. 2:06-CR-291-PM P-LRL
 VS.



 LonnieLillard
                      Defendant.

                         O RD ER TEM PO M R ILY UNSEA LING TR ANSCR IPT


        OnA ugust19 20l0 thiscourtreceivedatranscriptorderdated August13 2010 requestingtraflscriptsofa
hearingheld onDecember19,2007,from M r.LonnieI-illard,defendant,in which portitm softhehearing was
sealed.

         IT IS TH E O RDER OF TH E CO URT thatthesealed lranscriptsshallbeunsealed bytheClerk forthe
lim itedpurpose ofprovidinga copy ofthetranscriptasrequested byM r.Lillard.


        IT IS FIJR TH ER O R DER ED thatthesealed transcliptsshallthereafterberesealedby theClerk and a
certisedcopy ofthetranscriptbedeliveredto the Clerkpursuantto 28U.S.C. Section 753(b),untilfurtherorderof
tltiscourt.


         IT IS FURTH ER O RDERED thatthereceivingparty shallnotdisclosethesealedcontentsofthe
transcriptoftheproceedingto anyoneotherthan therepresentativesofthepartiesdirectlyconcerned with thiscase.


        DATED this   17(dayofAugsut,2010    .




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                                                  Philip M .Pro
                                                  U nited StatesDistrictJudge
